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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                  AT MEMPHIS


 KIMBERLY DIEI,                      )
                                     )
       Plaintiff,                    )
                                     )
 v.                                  )     Civil Action No. 2:21-cv-02071-JTF-cgc
                                     )
 RANDY BOYD, ET AL.                  )
                                     )
       Defendants.                   )



      MEMORANDUM OF LAW IN SUPPORT OF THE INDIVIDUAL CAPACITY
        DEFENDANTS’ MOTION TO DISMISS THE FOURTH AND FIFTH
                        CAUSES OF ACTION
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                              INTRODUCTION AND SUMMARY

        This is a case where the system worked. Alleging that she was “nearly expelled,” the

 Plaintiff Kimberly Diei readily admits that she was “not expelled,” because the University of

 Tennessee Health Science Center (UTHSC) College of Pharmacy “Dean Marie Chisholm-Burns

 . . . reverse[d] the [College’s Professionalism] Committee’s decision to expel Diei.” Ms. Diei has

 not missed a single minute of school. (Complaint, ECF #1, ¶¶ 1, 9, 16, 92, 95, 100). Because the

 University took no adverse action against her, she has no basis for a claim.

        This is also a case about professional responsibility. Just as lawyers in Tennessee must

 abide by the Rules of Professional Conduct, pharmacists in Tennessee must abide by the Rules of

 the Tennessee Board of Pharmacy on Professional Conduct and Responsibilities. And so must

 pharmacy students preparing to become pharmacists. By filing this lawsuit complaining that she

 is subject to “professionalism policies” (Compl., ¶ 95), Ms. Diei challenges that proposition.

        As explained below, the College of Pharmacy imposes standards upon its students that

 are set forth in Tennessee statutes, in Tennessee administrative rules, and in UTHSC’s student

 handbook called CenterScope. They are the same professional standards that practicing

 Tennessee pharmacists live and work under 365 days a year. Case law makes clear that the

 imposition of such professional standards on students is lawful. The pleadings show that the

 Individual Capacity Defendants have taken no adverse action against Ms. Diei that could give

 rise to a lawsuit, and that a part of her claim is time-barred. In any event, the Individual Capacity

 Defendants should be dismissed on qualified immunity grounds. The damages claims against

 them should be dismissed with prejudice. And as shown by the separate motion being filed by

 the Official Capacity Defendants, there is no basis for injunctive relief because UTHSC’s

 professional standards are facially valid – meaning that this entire lawsuit should be dismissed.

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                                     STATEMENT OF FACTS

 I.    PROFESSIONAL STANDARDS FOR PHARMACISTS IN TENNESSEE AND
       PHARMACY STUDENTS AT UTHSC’S COLLEGE OF PHARMACY.
       A.    The State of Tennessee’s Professional Standards for Pharmacists.

        The Tennessee General Assembly has declared that “[t]he practice of pharmacy within

 the state is . . . a professional practice affecting public health, safety and welfare and is subject to

 regulation and control in the public interest.” Tenn. Code Ann. § 63-10-202. To this end, the

 General Assembly created a Board of Pharmacy. Tenn. Code Ann. § 63-10-301 et seq. By statute

 the Board is authorized to deny or revoke licensure on a number of specifically defined bases,

 including that the person has been guilty of “unethical or unprofessional conduct.” Tenn. Code

 Ann. § 63-10-305(6). Additionally, the Board “has the power and authority to adopt, amend and

 repeal rules of professional conduct appropriate to the establishment and maintenance of a high

 standard of integrity and dignity in the profession of pharmacy.” Tenn. Code Ann. § 63-10-

 304(c). Exercising its statutory authority, the Tennessee Board of Pharmacy has adopted

 “Professional Conduct and Responsibilities” rules governing pharmacists and pharmacy interns.

 TENN. COMP. R. & REGS., Rule 1140-02-.01 (Exhibit 1, available on the Tennessee Secretary of

 State’s website at https://publications.tnsosfiles.com/rules/1140/1140-02.20170220.pdf). These

 rules were enacted pursuant to the Tennessee Uniform Administrative Procedure Act, meaning

 they went through an extensive process of public input and review for lawfulness by the

 Tennessee Attorney General. See Tenn. Code Ann. §§ 4-5-202, -205, -211. One provision of the

 Board of Pharmacy’s professionalism standards is:

        A pharmacist shall observe the law, uphold the dignity and honor of the
        profession, and accept its ethical principles. A pharmacist shall not engage in any
        activity that will bring discredit to the profession, and shall expose, without fear
        or favor, illegal or unethical conduct in the profession. [TENN. COMP. R. & REGS.,
        Rule 1140-02-.01(4).]

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       B.    The University of Tennessee’s Professional Standards for Pharmacy Students.

         The University of Tennessee is a public institution created by Tennessee statutes. See

  Tenn. Code Ann. § 49-9-101 et seq. The University is governed by a Board of Trustees which

  has “full power and authority to make bylaws, rules and regulations for the government of the

  university and the promotion of education in the university that in their opinion may be

  expedient or necessary.” Tenn. Code Ann. § 49-9-209(e)(1). Pursuant to its statutory authority,

  the University’s Board of Trustees has enacted, through the APA rulemaking process, a rule for

  UTHSC entitled “Maintenance of Ethical and Professional Standards.” TENN. COMP. R. & REGS.,

  Rule 1720-3-5-.01 (Exhibit 2, available on the Tennessee Secretary of State’s website at

  https://publications.tnsosfiles.com/rules/1720/1720-03/1720-03-05.pdf). UTHSC also maintains

  a    student    handbook,     CenterScope,     that    is   readily    available    online     at

  http://catalog.uthsc.edu/index.php?catoid=33. A “Student Rights and Responsibilities” link leads

  to a page with an index entry for “Maintenance of Ethical and Professional Standards of the

  Health Professions” in the lower left column. It links to a page which sets out UTHSC’s APA

  Professionalism Rule contained in TENN. COMP. R. & REGS., Rule 1720-3-5-.01 (see Exhibit 3):




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          In her Complaint, Ms. Diei alleges ignorance of these rules, but she was directly informed

  of University policies when she began her student career at UTHSC. On August 7, 2019, she

  signed a document entitled “Standards for Student Professional Conduct.” (Exhibit 4). It

  identified the relevant sources, including CenterScope. By signing it she affirmed:

           I have read carefully the College of Pharmacy’s Standards for Student
           Professional Conduct and the Student Policies and Guidelines of The University
           of Tennessee Health Science Center. I fully understand their meaning and
           significance. While a student at this institution, I agree to abide by the Standards
           for Student Professional Conduct and Student Policies and Guidelines and agree
           to accept all of its implications without reservation.

  II.     MS. DIEI’S APPEARANCES BEFORE THE UTHSC                                  COLLEGE         OF
          PHARMACY’S PROFESSIONALISM COMMITTEE.

           Ms. Diei alleges that the University is “policing her personal social media activity”

  (Compl., ¶ 1), but what her Complaint shows the University has done, rather than surveilling her,

  is to respond on two occasions to complaints about her social media activity. (Id., ¶ 34, 55).

          A.   The 2019 Event.

           Ms. Diei’s interactions with the Professionalism Committee began in 2019 after a

  complaint was made about her social media postings. (Compl., ¶ 34). The complaint was

  submitted in the form of a video, screen shots of which are attached as Exhibit 5.1 The video

  shows that Ms. Diei displayed UTHSC College of Pharmacy trademarks and logos on the same

  account where she posted a video of herself removing her breast from her shirt. As a result of

  this 2019 event, Ms. Diei was requested to “write a 3-page paper reflecting on [her] behavior and

  describing what [she has] learned from this incident and what [she] will do differently in the

  future.” (Exhibit 6, p. 8). By her own admission, she “agreed to write” it (Compl., ¶ 50), but she

  does not allege that she actually did write and submit the paper.

  1   A copy of the video will be emailed to chambers, ECF_Judge_Fowlkes@tnwd.uscourts.gov.

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        B.    The 2020 Event.

         In August 2020, Ms. Diei was again contacted by the Professionalism Committee after

  another complaint about her social media activity, and was provided a link to screenshots of

  posts to her Twitter and Instagram accounts. (Compl., ¶¶ 55-56). Those screenshots are collected

  in Exhibit 7. When Ms. Diei inquired about the professionalism standards that would be applied,

  Dr. George referred her to, among other things, CenterScope and “the professionalism standard

  as established by the College, and as reflected by the State Board of Pharmacy.” (Exhibit 6, p.

  13). The Professionalism Committee voted unanimously to academically dismiss Ms. Diei from

  the College of Pharmacy. (Compl., ¶ 82). She appealed, and “Dean Chisholm-Burns . . . decided

  to reverse the Committee’s decision to expel Diei.” (Id., ¶¶ 82, 92). That is, Ms. Diei

  “successfully appealed her expulsion.” (Id., ¶ 3). Ms. Diei did not miss any class time – as she

  alleges, “[s]he is, and was at all times relevant to the Complaint, a student at the College of

  Pharmacy,” which she “currently attends,” and no mere student, but a student “in good academic

  standing.” (Id., ¶¶ 9, 16, 95). As she frankly admits, she “was not expelled.” (Id., ¶100).

                                            ARGUMENT

  I.    THE COURT SHOULD DISMISS THE FOURTH AND FIFTH CAUSES OF
        ACTION ON THE MERITS.

        A.    The University May Lawfully Require Professional Students To Abide by
              Professional Standards.

         “States may regulate professional conduct, even though that conduct incidentally

  involves speech.” National Institute of Family and Live Advocates v. Becerra, 138 S. Ct. 2361,

  2372 (2018). And institutions of professional higher education may impose professionalism

  standards upon their students, requiring their students to adhere to the professional standards of

  the profession they are preparing to enter. Indeed, it has long been standard for pharmacy

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  students in particular to be “trained in the ethics of the profession.” Virginia Pharmacy Board v.

  Virginia Citizens Consumer Council, 425 U.S. 748, 751 (1976). A university’s teaching and

  requiring adherence to such professional standards serves a “legitimate pedagogical concern in

  teaching its students to comply with” the code of ethics in their field. Keeton v. Anderson-Wiley,

  664 F.3d 865, 876 (11th Cir. 2011). In addition, assessment of a student’s professionalism

  involves an institutional discharge of a responsibility toward society, for professional

  “certification programs are designed to ensure that . . . students meet the professional standards

  in their chosen fields,” such that when a university “communicates to the world that, in its view,

  that student is fit to practice the profession . . . , the [u]niversity places its ‘imprimatur’ on each

  student it approves.” Oyama v. University of Hawaii, 813 F.3d 850, 862, 870 (9th Cir. 2015).

  And students “are not forced to be there,” Ward v. Polite, 667 F.3d 727, 734 (6th Cir. 2012) –

  that is, by deciding to enter a profession and attend a school to prepare them for licensure in that

  profession, a student is choosing to voluntarily submit to the regulation of that profession. Court

  decisions from around the country confirm this.

         In Al-Dabagh v. Case Western Reserve University, 777 F.3d 355 (6th Cir. 2015), a

  medical student was dismissed and denied graduation due to professionalism issues such as

  tardiness to class, propositioning a classmate for sex at a dance, and driving while intoxicated.

  As part of its curriculum, Case Western imposed a professionalism requirement on its medical

  students. Among those standards was that students “[c]onsistently demonstrate[ ] ethical, honest,

  responsible and reliable behavior.” Id. at 357. To graduate, medical students had to receive the

  endorsement of a “Committee on Students,” a group of faculty and administrators which

  assessed each “student’s exam scores, clinical performance, and ‘professional attitudes and

  behavior.’” Id. “A student [could not] receive a degree without the Committee’s approval, good

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  grades notwithstanding.” Id. That was Al-Dabagh’s fate – “the only thing standing between

  [him] and a diploma [was] the Committee on Students’ finding that he lack[ed] professionalism.”

  Id. at 359. Despite his good grades and his completion of all the necessary coursework, he was

  not awarded an M.D. The Sixth Circuit held that assessment of a student’s professionalism is an

  “academic judgment” to which courts should defer. The court did defer to Case Western’s

  judgment about Al-Dabagh’s professionalism and ordered dismissal of the lawsuit. Id. at 359-61.

  In doing so, the Sixth Circuit emphasized the importance of assessing the professionalism of

  future professionals while they are still students:

         It is entirely reasonable to assess the presence of professionalism early. For once
         a medical student graduates, we must wait for a violation before we may punish
         the absence of it.

  Id. at 360. See also Ku v. Tenn., 322 F.3d 431 (6th Cir. 2003) (upholding removal of medical

  student from rotations for reasons including “‘unprofessional conduct,’” “his inability to interact

  with others in a basic professional manner;” characterizing the “decision [as] an academic one”).

         A case similar to Al-Dabagh involving a pharmacy student is Richmond v. Fowlkes, 228

  F.3d 854 (8th Cir. 2000), in which a student nearing graduation was dismissed in his very last

  semester. While on a rotation, he exhibited “unprofessional conduct” – “unexplained

  absenteeism, [a] failure to look up the appropriate medication dosage for a 21-month-old patient,

  and . . . [a] belligerent and argumentative response to” his supervisor – that resulted in his

  receiving a negative “non-cognitive evaluation.” Id. at 856. Earlier in his student career he had

  received other negative evaluations for such things as tardiness to class and lack of preparation

  for class. Id. at 856, 858. The Eighth Circuit held that “attributes of professionalism” (id. at 855)

  are properly considered to be “academic” and “scholastic in nature” (id. at 858), and affirmed the

  summary judgment dismissal of all the plaintiff’s constitutional claims.

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         In Keefe v. Adams, 840 F.3d 523 (8th Cir. 2016), the court confronted the exact question

  raised by Ms. Diei here: May a graduate school’s professionalism standards be applied to

  speech? The court’s answer was “yes.” In Keefe, a nursing student was removed from the

  program for “behavior unbecoming of the profession and transgression of professional

  boundaries.” Id. at 525. He had posted material on his Facebook page that “raised concerns about

  his professionalism and boundary issues.” Id. at 526. These included posts about giving those

  who used an electric pencil sharpener during class “a hemopneumothorax,” about “using

  whiskey for anger management,” and also “swearing, and calling a fellow student a ‘stupid

  bitch,’” all of which Keefe considered to be jokes. Id. at 527. Invoking the Nurse’s Association

  Code of Ethics, the school dismissed Keefe from the program. He sued, alleging a First

  Amendment violation. He made the same argument Ms. Diei is making here. She argues that

  “public institutions cannot investigate or discipline – much less expel – students for speech

  protected by the First Amendment.” (Compl., ¶ 4). The court rejected this argument:

         Keefe[ ] . . . frames [his] contention categorically – a college student may not be
         punished for off-campus speech, he contends, unless it is speech that is
         unprotected by the First Amendment, such as obscenity. To our knowledge, no
         court has adopted this extreme position, and we decline to do so.

  Id. at 529. The court, citing six federal court of appeals decisions, noted that “[m]any courts have

  upheld enforcement of academic requirements of professionalism and fitness, particularly for a

  program training licensed medical professionals.” Id. at 530. The fact that such professionalism

  requirements may regulate a student’s speech is both acceptable and inevitable, for

  “determinations of non-compliance will almost always be based at least in part on a student’s

  speech.” Id. The fact that the speech regulated by such professionalism requirements may be a

  student’s “on-line, off-campus” speech is also acceptable. As the Keefe court explained:



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         A student may demonstrate an unacceptable risk of professionalism off campus,
         as well as in the classroom, and by speech as well as conduct. [citations,
         including to the Sixth Circuit’s Yoder case, infra.]         Therefore, college
         administrators and educators in a professional school have discretion to require
         compliance with recognized standards of the profession, both on and off campus,
         ‘so long as their actions are reasonably related to legitimate pedagogical
         concerns.’ Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 273 . . . (1988).”

  Id. at 531. See also Oyama v. University of Hawaii, 813 F.3d 850, 869 (9th Cir. 2015) (“The

  First Amendment does not prevent the University from denying Oyama’s student teaching

  application after determining that his statements reflected a failure to absorb . . . defined and

  established professional standards.”).

         The Sixth Circuit addressed professionalism standards in the context of social media in

  Yoder v. University of Louisville, 526 Fed. Appx. 537 (6th Cir. 2013). The court affirmed the

  dismissal, on qualified immunity grounds, of claims against university administrators who

  dismissed a nursing student because of the content of her MySpace blog post, a satirical essay

  which revealed information about a birth she had witnessed as part of her education.

         The intersection of professional standards and social media is also illustrated by Hunt v.

  Board of Regents of the University of New Mexico, 792 Fed. Appx. 595 (10th Cir. 2019), cert.

  denied, 2020 WL 6829148 (2020), in which the Tenth Circuit confronted a case where a

  university required a medical student, based on his core political speech (a social media post

  about the 2012 Presidential election), to engage in ethics and professionalism activities such as

  assigned readings, supervised reflective writings, and meetings with a faculty mentor. Id. at 598-

  99. He did so – but also sued, claiming a First Amendment violation. Noting that “[o]ff-campus,

  online speech by university students, particularly those engaged in professional schools, involves

  an emerging area of constitutional law,” id. at 601, the court affirmed the dismissal of claims

  against individual university administrators on the grounds that there had been no violation of a

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  clearly established constitutional right. See also Keeton v. Anderson-Wiley, 664 F.3d 865 (11th

  Cir. 2011) (discussed infra; upholding remediation plan imposed on professional student).

         In all eight of these cases, the university won. These cases teach that (1) institutions of

  higher education may require their professional students to adhere to the professional standards

  of the profession they are preparing to enter; (2) those professional standards may regulate

  conduct that involves speech; and (3) the speech that may be permissibly regulated includes off-

  campus, on-line speech such as social media posts. While this professional regulation may well

  cause professionals and students preparing for a profession to think carefully about the choices

  they make in how they conduct themselves, that is an inherent part of living under the standards

  of the profession they have chosen to pursue.

       B.    The University Has Taken No Adverse Action Against Ms. Diei.

                1.    The University Did Not Violate the First Amendment by Assigning Ms.
                      Diei An Educational Activity in 2019.

                      a.    The Claims About the 2019 Event Are Time-Barred.

         The statute of limitations for Ms. Diei’s claim is one year. Tenn. Code Ann. 28-3-

  104(a)(1)(B). The Complaint shows that the 2019 event was complete in October 2019 (¶ 47),

  over a year before this suit was filed. Any claims based on the 2019 event should be dismissed.

                      b.    The Claims About the 2019 Event Are Without Merit.

         Ms. Diei’s first problem is that there was no First Amendment protected speech. She has

  not identified any idea or viewpoint she was communicating by the act of removing her breast

  from her shirt. Doing so is not “inherently expressive,” and without an “intent to convey a

  particularized message” her action did not constitute speech at all. Rumsfeld v. FAIR, 547 U.S.

  47, 66 (2006) (“we have extended First Amendment protection only to conduct that is inherently

  expressive”); Spence v. Washington, 418 U.S. 405 (1974).
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         Second, the University acted lawfully in providing Ms. Diei with an educational outcome

  to address the complaint about her social media posting. “A university’s mission is education.”

  Widmar v. Vincent, 454 U.S. 263, 268 n.5 (1981). Schools have “broad discretion” in making

  choices about “selection and implementation of a curriculum – the lessons students need to

  understand and the best way to impart those lessons.” Ward v. Polite, 667 F.3d 727, 732 (6th Cir.

  2012). Educating students can include “teaching students the boundaries of socially appropriate

  behavior.” Bethel School District No. 403 v. Fraser, 478 U.S. 675, 683 (1986).2 Further, this

  teaching and “license to choose among pedagogical approaches . . . is not confined to the

  classroom.” Christian Legal Society v. Martinez, 561 U.S. 661, 686 (2010). A college of

  pharmacy may lawfully teach its students the tenets of professionalism in the pharmacy

  profession, including the boundaries of socially appropriate behavior for pharmacists. And while

  it is true that offensive statements may be protected “because of the ideas they convey,” there is

  less constitutional protection for statements that “offend because of their mode of expression,”

  particularly statements that are “obscene, vulgar, or profane.” Iancu v. Brunetti, 139 S. Ct. 2294,

  2303 (2019) (Roberts, C.J., concurring in part and dissenting in part) (emphasis added).

         For example, in Hunt, supra, the Tenth Circuit held that the university violated no clearly

  established constitutional right when it required a medical student who had posted a profanity-

  laced social media message about the 2012 Presidential election to undergo:

         A professionalism enhancement prescription consisting of an ethics component
         and a professionalism component, each with different faculty mentors. For the
         ethics component, the mentor would assign readings and supervise a reflective
         writing assignment on patient autonomy and tolerance. The professionalism

  2 Fraser involved a public high school student, but its principles are applicable here. See Ward
  v. Polite, 667 F.3d at 733-34 (declining to create a distinction “between student speech at the
  high school level and university levels”); Yoder, 526 Fed. Appx. at 545 n.3 (“school speech
  standards may be applicable to university students”).

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         component entailed: (1) a writing assignment on the public expression of political
         beliefs by physicians; (2) an apology letter that Mr. Hunt could present to his
         classmates, select individuals or no one; (3) rewriting the Facebook post in a
         passionate yet professional manner; and (4) regular meetings with the faculty
         member over the course of a one-year period.

  Id. at 599 (internal quotation marks and citations omitted).

         Keeton v. Anderson-Wiley, 664 F.3d 865 (11th Cir. 2011), cited with approval by the

  Sixth Circuit in Ward v. Polite, 667 F.3d 727, 741-42 (6th Cir. 2012), is similar. A graduate

  student seeking a master’s degree in school counseling expressed to students and faculty –

  including during “out of class” (id. at 868) conversations – that she strongly opposed

  homosexuality and would tell a homosexual client that “his behavior is morally wrong and then

  try to change the client’s behavior,” including by referring the client “to someone practicing

  conversion therapy.” Id. at 869. This was contrary to the American Counseling Association’s

  Code of Ethics. Id. Before allowing her to see clients, the university required her to go through

  an extensive “remediation plan” which required her to, among other things, “submit a two-page

  reflection to her advisor every month,” along with having to attend at least three workshops and

  read at least ten peer-reviewed articles “that pertain to improving counseling effectiveness with

  the GLBTQ population.” Id. at 870. She refused and sued. The court rejected her First

  Amendment challenge to these requirements, explaining:

         In requiring Keeton to learn about and interact with the GLBTQ population, to
         read articles in counseling or psychological journals about counseling the GLBTQ
         population, and to become familiar with the ALGBTIC Competencies for
         Counseling Gay and Transgender clients, [the university’s] officials sought to
         teach her how to effectively counsel GLBTQ clients in accordance with the ACA
         Code of Ethics.

  Id. at 874 (affirming denial of plaintiff’s motion for preliminary injunction).

         Here, what Ms. Diei did was post a video of her taking her breast out of her shirt, and

  also posted UTHSC College of Pharmacy logos and trademarks to the same account. If this was
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  speech, then this mode of expression is outside the boundaries of socially and professionally

  appropriate behavior for a pharmacist. Ms. Diei herself seems to concede the impropriety of

  tying the College to her post by alleging in her Complaint (¶ 25) that she “has never identified

  herself in her social media posts as a College of Pharmacy student nor has she indicated any

  affiliation with the University of Tennessee” – although, as shown by Exhibit 5, this is not true.

         By assigning Ms. Diei to write a three-page paper reflecting on this incident, the College

  of Pharmacy imposed an educational activity far less burdensome or intrusive than what was

  imposed on the students in Hunt and Keeton, and acted lawfully.

                 2.    The University Did Not Violate the First Amendment Because It Took
                       No Adverse Action Against Ms. Diei in 2020.

         Ms. Diei “was not expelled” (Compl., ¶100) from the UTHSC College of Pharmacy

  because she “successfully appealed her expulsion.” (Id., ¶ 3). The University’s final action was

  to not expel her, and while awaiting that final action she did not miss a single minute of class.

  (Id., ¶¶ 9, 16, 95). Just as the winner of a basketball game is determined by the final score, not

  the half-time score, common sense says that Ms. Diei did not suffer any adverse action she may

  sue about after winning her appeal. So does case law.

         In Benison v. Ross, 765 F.3d 649 (6th Cir. 2014), Dr. Kathleen Benison, a tenured

  professor at Central Michigan University, requested a promotional pay supplement. Id. at 653.

  Her “department recommended denying her application for a salary supplement, and the

  reviewing dean agreed. [She] appealed their recommendations to the provost, but she resigned

  before he could render a final decision.” Id. She sued, alleging among other things that the denial

  of the pay supplement was retaliation against her in violation of the First Amendment because

  her husband, a CMU student, had sponsored a no-confidence resolution against CMU’s provost



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  and president. Id. The Sixth Circuit affirmed the dismissal of this claim by summary judgment

  based on Dr. Benison’s failure to complete the internal appeals process, explaining:

                The negative recommendations of the . . . Department and Dean Davison
         regarding Kathleen’s application for a promotional pay supplement are not
         adverse actions because Kathleen resigned before CMU made a final decision to
         deny her request for a salary increase. Tenure decisions and other promotional
         “decisions in an academic setting involve a combination of factors which tend to
         set them apart from employment decisions generally.” Dobbs-Weinstein v.
         Vanderbilt Univ., 185 F.3d 542, 545 (6th Cir. 1999) (internal quotation marks
         omitted). In Dobbs-Weinstein, we held that a dean’s decision to deny tenure to a
         professor was not an adverse action because it was not an “ultimate employment
         decision”:

             Because tenure decisions are so complex and potentially contentious,
             universities are well-served to have a grievance procedure for individuals
             wishing to appeal any of the many intermediate decisions or evaluations
             made during the tenure review process. [When a university] employs such
             a process, [it] allow[s] [a professor] to prevent [a negative] interim
             decision from becoming final.

         Id. at 545; see also Okruhlik v. Univ. of Ark., 395 F.3d 872, 879 (8th Cir. 2005)
         (“[A] university should have the opportunity to correct errors through its
         complete internal appeals process that precedes its final decision.”); Howze v.
         Va. Polytechnic & State Univ., 901 F. Supp. 1091, 1097 (W.D. Va. 1995)
         (“[W]here the tenure decision was following the chain of appeal, each decision
         along the way is not actionable. Only the final decision is the ultimate act.”). The
         same principle is applicable to “[i]ntermediate decisions in a promotion process
         [which] do not constitute independent adverse employment actions unless they
         directly influence the decisionmaker’s choice [to deny promotion.]” Okruhlik, 395
         F.3d at 879-80.

  Id. at 659-60 (emphases added).

         Benison involved a claim by a faculty member, but its policy rationale applies equally to

  students. Just as evaluating a faculty member’s performance involves making judgments about

  academic matters, so does evaluating a student’s professionalism, for the Sixth Circuit has held

  that a determination about professionalism is an “academic judgment.” Al-Dabagh, supra, 777

  F.3d at 360; Ku, supra, 322 F.3d at 436. Further, the Sixth Circuit recognized that a “‘university

  should have the opportunity to correct errors through its complete internal appeals process that
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  precedes its final decision,’” 765 F.3d at 659, and that can happen only if courts dismiss claims

  about alleged errors that are corrected in a final decision.

          A student case demonstrating this is Harris v. Blake, 798 F.2d 419 (10th Cir. 1986).

  There, a psychology graduate student’s teacher put a letter in his file that assessed him as

  incompetent and unethical based on things he had done while taking her course, and this letter

  was seen by some of his later teachers and may have affected the grades they gave him – grades

  that went below the required minimum GPA and compelled him to withdraw from the program.

  He did not initially know about the letter, but after he found out, which was after he had already

  received the later low grades, the university allowed him to appeal everything. The outcome of

  the appeal confirmed the assessments. He sued, claiming constitutional due process violations.

  The Tenth Circuit acknowledged he presented triable factual issues about the legality of the

  original letter and its effect on his grades, but still affirmed summary judgment dismissal of the

  lawsuit because the later process cured the initial wrongdoing. The Tenth Circuit explained:

          Harris was given the opportunity to challenge the letter and the grades before the
          Academic Appeal Board. It is the Board’s decision that ultimately resulted in
          Harris’ forced withdrawal, and Harris has failed to show that this decision was not
          made with conscientious deliberation through the exercise of professional
          judgment [the due process standard from Regents of the University of Michigan v.
          Ewing, 474 U.S. 214 (1985)]. It is undisputed that unbiased faculty members have
          considered Harris’ case and have exercised their own judgment concerning the
          propriety of the grades that compelled his withdrawal. Accordingly, Harris has
          failed to support the alleged denial of substantive due process.

  Id. at 425.

          Thus, the lawfulness of the “final decision” and “ultimate act” (Benison) is what matters.

  Benison shows that when a person does not appeal, her lawsuit is dismissed because she failed to

  receive the university’s final decision. Harris shows that when an improper action is taken at a

  lower level, there is no valid lawsuit if, on appeal, the final decision is lawful in a way that cures

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  the prior wrongdoing even if the person loses the appeal. If a lawsuit is to be dismissed when the

  person does not appeal, or appeals and loses the appeal, then of course a lawsuit is to be

  dismissed when the person appeals and wins and receives the exact outcome – the “final

  decision” and “ultimate act” – she wanted. That is this lawsuit.

                 3.    The University Did Not Violate the First Amendment by Investigating
                       Complaints About Ms. Diei.

         Ms. Diei asserts that “public institutions cannot investigate . . . students for speech

  protected by the First Amendment.” (Compl. ¶ 1). This is legally incorrect. In addition to

  imposing professionalism standards, a university may lawfully investigate complaints that the

  standards have been violated. Indeed, the cases cited above are inexplicable if a university is not

  allowed to investigate anything about a student’s speech – the schools could not have reached the

  point of dismissing a student from a nursing program (Yoder), or imposing a professionalism

  enhancement program (Hunt) or remediation plan (Keeton), without first having investigated the

  matter, because otherwise how would they have known about it?

         Abbott v. Pastides, 900 F.3d 160 (4th Cir. 2018) shows Ms. Diei’s legal theory is wrong.

  In that case, a complaint was made to the University of South Carolina about two student groups’

  “Free Speech Event,” which had included visual displays of such items as a swastika, and at

  which the students sponsoring the event allegedly made sexist and racist statements. Id. at 163.

  In response to student complaints, the university investigated the matter, but took no disciplinary

  action. The plaintiffs nonetheless alleged that “University officials violated their First

  Amendment rights when they required Abbott to attend a meeting to discuss complaints about

  their event.” Id. The Fourth Circuit rejected the claim and upheld the university’s actions in

  “seeking relevant information.” Id. at 173.



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         Speech First, Inc. v. Schlissel, 939 F.3d 756 (6th Cir. 2019), relied upon by Ms. Diei

  (Compl., ¶ 4), is inapposite and is not to the contrary. That case dealt only with the question of a

  plaintiff’s standing to make a facial challenge to a University policy. The University does not

  challenge Ms. Diei’s standing here, and Speech First issued no holding at all about what does

  and does not violate the First Amendment on the merits.

                 4.    The Complaint Alleges No Valid Individual Capacity Claim Against
                       President Boyd Because It Alleges No Wrongdoing On His Part.

         Section 1983 does not impose vicarious liability, Monell v. Dept. of Social Svcs., 436

  U.S. 658 (1978), nor does it create liability based on an allegation that a defendant merely failed

  to act to prevent a constitutional violation. Rizzo v. Goode, 423 U.S. 362 (1976). Individual

  defendants are due to be dismissed from a lawsuit when they have “not done anything wrong (or,

  indeed, anything at all . . .).” Hosty v. Carter, 412 F.3d 731, 733 (7th Cir. 2005) (en banc). Thus,

  in Ward v. Polite, supra, the Sixth Circuit affirmed the dismissal of claims against a university

  president “who did not play a meaningful role in [the student’s] dismissal.” 667 F.3d at 742.

  Absent such a showing, there was no basis to sue the president over “the potentially improper

  implementation of [University] policy by some members of the university.” Id. See also

  Salehpour v. Univ. of Tennessee, 159 F.3d 199, 206-07 (6th Cir. 1998) (dismissing university

  president); Cobb v. Univ. of Virginia, 69 F. Supp. 2d 815, 834 (E.D. Va. 1999) (same). President

  Boyd cannot be sued for damages in his individual capacity based on the contention that other

  University officials allegedly applied University policies to Ms. Diei in an unlawful way absent

  some allegation that President Boyd had something to do with it. There is no such allegation. The

  Fourth Cause of Action against President Boyd should be dismissed.




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  II.   THE COURT SHOULD DISMISS THE FOURTH AND FIFTH CAUSES OF
        ACTION BECAUSE THE INDIVIDUAL DEFENDANTS PRESIDENT BOYD AND
        DR. GEORGE ARE ENTITLED TO QUALIFIED IMMUNITY.

         Qualified immunity shields government officials performing discretionary functions

  “from liability for civil damages insofar as their conduct does not violate clearly established

  statutory or constitutional rights of which a reasonable person would have known.” Harlow v.

  Fitzgerald, 457 U.S. 800, 818 (1982). This principle applies to University of Tennessee officials.

  Garvie v. Jackson, 845 F.2d 647 (6th Cir. 1988). Qualified immunity is both a defense to liability

  and an entitlement not to stand trial or face other burdens of litigation. Mitchell v. Forsyth, 472

  U.S. 511, 526 (1985). Once a defendant raises qualified immunity, “[a] plaintiff bears the burden

  of showing that a defendant is not entitled to qualified immunity.” Jacobs v. Alam, 915 F.3d

  1028, 1039 (6th Cir. 2019). Here, Ms. Diei cannot satisfy her burden.

                 1.    Ms. Diei Has Not Alleged Any Actionable Constitutional Violation
                       Against the Individual Capacity Defendants.

         The threshold question is whether, taken in the light most favorable to the plaintiff, the

  facts alleged show that an official’s conduct violated a constitutional right. Saucier v. Katy, 533

  U.S. 194, 201 (2001). If no constitutional right would have been violated even if the allegations

  were established, no further inquiry is necessary. Id. Here, as explained in Argument Section I,

  Ms. Diei has failed to allege any actionable constitutional violation.

                 2.    Ms. Diei Has Not Alleged the Violation of Any Clearly Established
                       Constitutional Right.

         On the question of whether the right Ms. Diei is asserting here “was clearly established in

  light of the specific context of the case,” the burden she must carry “[t]o overcome qualified

  immunity” is to “identify a case whose facts and holding would make ‘clear to a reasonable

  officer that his conduct was unlawful in the situation he confronted.’” Machan v. Olney, 958

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  F.3d 1212, 1214-15 (6th Cir. 2020) (quoting District of Columbia v. Wesby, 138 S. Ct. 577, 590

  (2018)). “If reasonable officials could disagree as to whether the conduct at issue was lawful,

  then qualified immunity applies.” Rieves v. Town of Smyrna, Tenn., 959 F.3d 678, 695 (6th Cir.

  2020). To be “clearly established,” a right must be “‘beyond debate.’” Novak v. City of Parma,

  932 F.3d 421, 434 (6th Cir. 2019) (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011)).

         Because “First Amendment parameters may be especially difficult to discern in the

  school context[,] . . . ‘educators are rarely denied immunity from liability arising out of First-

  Amendment disputes.’” Abbott v. Pastides, supra, 900 F.3d at 174 (quoting Morgan v. Swanson,

  755 F.3d 757, 769 (5th Cir. 2014)). See also Hosty v. Carter, supra, 412 F.3d at 733 (qualified

  immunity for college dean in First Amendment case; “[m]any aspects of the law with respect to

  students’ speech . . . are difficult to understand and apply”).

         Far from being able to satisfy her burden, the law is the exact opposite of what Ms. Diei

  must show exists here. If Ms. Diei is claiming that a university may not subject its professional

  students to the professional standards of the profession they are studying to enter, that claim has

  been squarely rejected by many courts, as explained in Section I.A above. If she is claiming that

  those professional standards may not regulate speech in any manner, that claim has also been

  rejected in those cases. If she is taking the position that such professional standards may regulate

  speech, but not social media postings, binding precedent shows there is qualified immunity in

  this case. “[N]either the Supreme Court nor a panel of our circuit has considered whether schools

  can regulate off-campus, online speech by students.” Yoder v. University of Louisville, 526 Fed.

  Appx. 537, 545 (6th Cir. 2013) (affirming dismissal of claims against university administrators

  who dismissed nursing student because of the content of her MySpace blog post). And if she is

  claiming that complaints about her social media postings could not even be investigated, that

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  argument was rejected in Abbot v. Pastides, supra. The truth is that “[a]t the intersection of

  university speech and social media, First Amendment doctrine is unsettled.” Yeasin v. Durham,

  719 Fed. Appx. 844, 852 (10th Cir. 2018) (affirming qualified immunity regarding punishment

  for university student’s Twitter posts).3 The Individual Capacity Defendants are entitled to

  qualified immunity.

                                          CONCLUSION

         The Individual Capacity Defendants request the Court to dismiss the Fourth and Fifth

  Causes of Action with prejudice and enter final judgment under Rule 54(b).

         Respectfully submitted this 1st day of March, 2021.

                                       /s/ Frank H. Lancaster
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                                       flancast@tennessee.edu
                                       Attorney for Defendants

  3  See also Hunt, supra, 792 Fed. Appx. 595 (noting that “[o]ff-campus, online speech by
  university students, particularly those engaged in professional schools, involves an emerging
  area of constitutional law,” id. at 601, the court affirmed the dismissal of claims against
  individual university administrators on qualified immunity grounds); Longoria v. San Benito
  Independent Consolidated School District, 942 F.3d 258 (5th Cir. 2019) (high school cheerleader
  was dismissed from the team for her social media activity, which was “not threatening or
  directed towards the school community,” id. at 264, but some of which the school felt contained
  sexual innuendo – qualified immunity because “the right at issue was not clearly established,” id.
  at 265); Doninger v. Niehoff, 642 F.3d 334 (2d Cir. 2011) (granting school officials qualified
  immunity when they prohibited high school student from running for class secretary based on
  off-campus internet speech); McKinney v. Huntsville School Dist., 345 F. Supp. 3d 1071, 1075-
  76 (W.D. Ark. 2018) (qualified immunity on First Amendment claim for school officials who
  expelled student who posted to social media image of himself in a trenchcoat holding an assault
  rifle); Zimmerman v. Board of Trustees of Ball State University, 940 F. Supp. 2d 875, 895-97
  (S.D. Ind. 2013) (university officials entitled to qualified immunity on First Amendment claim
  when they disciplined students for completely off-campus behavior that involved using a false
  Facebook account to lure another student to a purported date with an under-aged female, videoed
  him, and posted it online with the caption that he “is a pedophile.”).

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                                             EXHIBIT LIST
  Exhibit 1:       TENN. COMP. R. & REGS., Rule 1140-02-.01
  Exhibit 2:       TENN. COMP. R. & REGS., Rule 1720-3-5-.01
  Exhibit 3:       Excerpts from UTHSC CenterScope1
  Exhibit 4:       Document entitled “Standards for Student Professional Conduct” signed by Ms.
                   Diei (Ms. Diei’s student number and phone number redacted)2
  Exhibit 5:       Screenshots of video submitted in 2019 as complaint about Ms. Diei’s social
                   media posts3
  Exhibit 6:       September 4, 2020 letter from Ms. Diei’s counsel to Dean Chisholm-Burns (Ms.
                   Diei’s e-mail address and phone number redacted)4
  Exhibit 7:       Screenshots of Diei’s Twitter and Instagram accounts submitted in 2020 as
                   complaint about Ms. Diei’s social media posts5
  Exhibit 8:       Declaration of Dr. Christa M. George, Authenticating Exhibits 4, 5, and 7
  __________________
  1
    Available at http://catalog.uthsc.edu/index.php?catoid=33,
  http://catalog.uthsc.edu/content.php?catoid=33&navoid=3383, and
  http://catalog.uthsc.edu/content.php?catoid=33&navoid=3383#Maintenance_of_Ethical%20and_
  Professional_Standards_of_the_Health_Professions. “A court that is ruling on a 12(b)(6) motion
  may consider materials in addition to the complaint if such materials are public records or are
  otherwise appropriate for the taking of judicial notice” without converting the motion to one
  under Rule 56. New England Health Care Employees Pension Fund v. Ernst & Young, LLP, 336
  F.3d 495, 501 (6th Cir. 2003). The Court may take judicial notice of information not subject to
  reasonable dispute that is contained on the website of a public institution. See, e.g., Marshek v.
  Eichenlaub, 266 Fed. Appx. 392 (6th Cir. 2008); Arvest Bank v. Byrd, 814 F. Supp. 2d 775, 787
  n.4 (W.D. Tenn. 2011); Fed. R. Evid. 201(b).
  2
    This document is referred to throughout the Complaint (e.g., ¶ 38). On a Rule 12(b)(6) motion,
  the Court may consider matters that are referred to in a plaintiff’s complaint but not attached.
  See, e.g., Erie County, Ohio v. Morton Salt, Inc., 702 F.3d 860, 863 (6th Cir. 2012).
  3
      This document is referred to in ¶ 34 of the Complaint, and is part of the pleadings. Erie, supra.
  4
      This document is referred to in ¶90 of the Complaint, and is part of the pleadings. Erie, supra.
  5
    In addition to this document being referred to in Paragraph 56 of the Complaint, excerpts are
  included in Paragraphs 60, 62, and 63 of the Complaint; the document is therefore part of the
  pleadings for purposes of a Rule 12(b)(6) motion to dismiss. Erie, supra. Note that additional
  images were shared with Ms. Diei at the hearing, but the attached screenshots were what were
  made available to her on August 27, the date she references in her Complaint.
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                                      CERTIFICATE OF SERVICE

          I hereby certify that on March 1, 2021, a copy of the foregoing memorandum was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt, and parties may access this filing
  through the Court’s electronic filing system.


                                                /s/ Frank H. Lancaster
